Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 1 of 14                      PageID #:
                                  8997



 CHRISTINE Z. HERI
 Regional Solicitor
 RUBEN R. CHAPA
 Counsel for ERISA
 JING ACOSTA
 Trial Attorney
 U.S. Department of Labor
 Office of the Solicitor
 230 S. Dearborn St., Suite 844
 Chicago, Illinois 60604
 T: (312) 353-1145
 F: (312) 353-5698
 Chapa.Ruben@dol.gov
 Attorneys for Plaintiff

                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF HAWAII

     MILTON AL STEWART,1 Secretary                1:18-cv-155-SOM-WRP
     of Labor, United States Department of
     Labor,                                       MEMORANDUM IN SUPPORT OF
                                                  MOTION TO ENTER CONSENT
                  Plaintiff,                      JUDGMENT AND EXTEND
                                                  DEADLINE TO TAKE
            vs.                                   SAAKVITNE DEFENDANTS
                                                  EXPERTS DEPOSITIONS
     SHARON L. HERITAGE, as
     successor to Nicholas L. Saakvitne,          JUDGE: Hon. Susan Oki Mollway
     Deceased, et al.,
                  Defendants.




 1
  By operation of law, Milton Al Stewart, Acting Secretary of Labor, is substituted for former
 Secretary of Labor Eugene Scalia. FED. R. CIV. P. 25(d).
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 2 of 14                                                          PageID #:
                                  8998



                                                    Table of Contents

 I.     INTRODUCTION ................................................................................................................. 1
 II.    LEGAL DISCUSSION .......................................................................................................... 3
 III.   CONCLUSION.................................................................................................................... 10




                                                                   ii
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 3 of 14        PageID #:
                                  8999



                               Table of Authorities

                                                                             Page
 Cases
 Am. States Ins. Co. v. Dastar Corp., 318 F.3d 881, 889–90 (9th Cir.2003)……..3

 AmerisourceBergen Corp. v. Dialysist W., Inc., 465 F.3d 946, 954 (9th Cir.2006)
 ……………………………………………………………………………………3

 Cont'l Airlines, Inc. v. Goodyear Tire & Rubber Co., 819 F.2d 1519, 1525 (9th
   Cir.1987)……………………………………………………………………4, 5

 Frow v. De La Vega, 15 Wall. 552, 82 U.S. 552, 21 L.Ed. 60 (1872)…………...4

 In re First T.D. & Inv ., Inc., 253 F.3d 520, 532 (9th Cir. 2001)………….….…..4

 Jazz Casual, Inc. v. Byron, 2012 WL 13059823, *3-4 (N.D. CA 2012)……..….4

 Shanghai Automation Instrument Co. v. Kuei, 194 F.Supp.2d 995, 1008
    (N.D.Cal.2001)………………………………………………………………..4

 Call v. Sumitomo Bank, 881 F.2d 626, 631 (9th Cir. 1989)………………………5

 Free v. Briody, 732 F.2d 1331, 1332, 1336 (7th Cir. 1984)………………………5

 Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 10–11, 100 S. Ct. 1460,
   1466, 64 L. Ed. 2d 1 (1980)…………………………………………………..6

 Bank of Lincolnwood v. Fed. Leasing, Inc., 622 F.2d 944, 949 (7th Cir. 1980)..6

 Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 607 (9th Cir. 1992)……7, 8

 Zivkovic v. S. Cal. Edison Co.,
       302 F.3d 1080, 1087 (9th Cir. 2002)……………………………...…………7


 Bovarie v. Schwarzenegger,
      2011 WL 767249 *1 (S.D. Cal., Feb. 25, 2011)………….………………...8




                                        iii
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 4 of 14   PageID #:
                                  9000




 U.S. ex rel. Schumer v. Hughes Aircraft Co.,
       63 F.3d 1512, 1526 (9th Cir. 1995)……………………...………………....8


 Statutes and Rules

 Fed. R. Civ. P. 16(d) ....…………………………………………………………….7

 Fed. R. Civ. P. 54……………………………………………………………..3, 5, 6




                                      iv
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 5 of 14            PageID #:
                                  9001



 I.    INTRODUCTION

       The Secretary respectfully requests this Court enter the Consent Order and

 Judgment between the Secretary and Defendants Sharon Heritage, as successor to

 Nicholas L. Saakvitne, deceased, and Nicholas L. Saakvitne, a law corporation

 (collectively “Saakvitne Defendants”) and extend the February 19, 2021 deadline,

 regarding the completion of the two expert depositions of Saakvitne Defendants

 experts Howard Kaplan and Renee McMahon. The Secretary and the Saakvitne

 Defendants have resolved their dispute and executed the Consent Order and

 Judgment submitted to the Court via email for its review and for entry of the

 Judgment. The Saakvitne Defendants have also filed a Motion to Enter the Bar

 Order attached to the Consent Order and Judgment. If the Court enters the

 Consent Order and Judgment and the Bar Order, this will resolve this matter with

 respect to the Secretary’s claims against the Saakvitne Defendants, making

 deposing the Saakvitne Defendants’ experts moot.

       This case involves complicated issues under the Employee Retirement

 Income Security Act of 1974, as amended (“ERISA”), and involves potential

 damages in excess of $14,000,000.00. Litigation of this matter has involved

 extensive discovery, motion practice, cross motions for summary judgment, and

 the entry of numerous orders adjudicating disputes. Extensive resources have been

 expended by all the parties and the court in adjudicating this matter.
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 6 of 14            PageID #:
                                  9002



       Seeking a more efficient manner of resolving this litigation, on September

 11, 2020, the Secretary sent a Settlement Proposal letter to all the defendants.

 Only the Saakvitne Defendants responded and attempted to seek an amicable

 resolution. As a result of the Secretary’s and the Saakvitne Defendants’ protracted

 negotiations, they were able to reach an agreement memorialized in the Consent

 Order and Judgment submitted to the Court with this Motion.

       The foundation for the settlement was based on information and documents

 the Saakvitne Defendants provided to support their claim that their financial means

 to restore the losses to the ESOP are limited to a $3 million wasting insurance

 policy. As the Consent Judgment identifies the remainder of the policy limits

 (after payment of expended defense costs) are being used for the benefit of the

 ESOP under the terms of the Consent Order and Judgment. In order to prevent

 further deterioration of these monies, the Secretary and the Saakvitne Defendants

 believe it was prudent to postpone the depositions of the Saakvitne Defendants’

 experts, Mr. Kaplan and Ms. McMahon, until such time as the Court rules on the

 Motions to Enter the Consent Judgment and the Bar Order. If the Court enters the

 Consent Order and Judgment and the Bar Order, there will be no need to conduct

 the additional expert depositions, and all other expert discovery with respect to the

 remaining Defendants in this matter was completed on February 16, 2021.

       Accordingly, this Court should enter the Consent Order and Judgment



                                           2
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 7 of 14             PageID #:
                                  9003



 between the Secretary and the Saakvitne Defendants and extend the February 19,

 2021 deadline to take the depositions of Mr. Kaplan and Ms. McMahon in case the

 Court declines to enter the Consent Order and Judgment and the Bar Order. The

 Secretary requests that the time to complete the depositions be extended so it

 expires 21 days after any order that declines to enter the Consent Judgment and/or

 Bar Order included in the Consent Judgment.

 II.   LEGAL DISCUSSION

       A.     This Court has the authority to enter the Consent Judgment

       Fed. R. Civ. P. 54 provides “the court may direct entry of a final judgment as

 to one or more, but fewer than all, claims or parties only if the court expressly

 determines that there is no just reason for delay.” The Ninth Circuit has held Rule

 54(b) permits a district court to enter judgment on “fewer than all” claims or

 parties where there is “no just reason for delay.” Fed.R.Civ.P. 54(b); Am. States

 Ins. Co. v. Dastar Corp., 318 F.3d 881, 889–90 (9th Cir.2003); see generally

 Wright and Miller, Fed. Prac. & Proc. Civ. § 2656 (4th ed.). Further, the Ninth

 Circuit has held that reviewing the propriety of a district court's Rule

 54(b) certification is a two-step process. AmerisourceBergen Corp. v. Dialysist W.,

 Inc., 465 F.3d 946, 954 (9th Cir.2006). In the first step, the court reviews de novo

 “such factors as the interrelationship of the claims so as to prevent piecemeal

 appeals.” Id. (quotation marks omitted). “The second step ... requires an



                                            3
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 8 of 14                PageID #:
                                  9004



 assessment of the equities [under] the ‘substantial deference’ standard, reversing

 the district court['s Rule 54(b) certification] only if we find the district court's

 conclusions clearly unreasonable.” Id. Analyzing a Rule 54(b) judgment requires a

 “pragmatic approach” with focus “on severability and efficient judicial

 administration.” Cont'l Airlines, Inc. v. Goodyear Tire & Rubber Co., 819 F.2d

 1519, 1525 (9th Cir.1987).

       While the case law and the rules are clear on when a court can finalize a

 judgment, there are cases that hold default judgments against one party is not

 proper in certain circumstances if joint claims remain against non-defaulting

 party. The Supreme Court held that if a party is found in default, in certain

 circumstances default should be entered, but judgment withheld until there is

 adjudication against all defendants. Frow v. De La Vega, 15 Wall. 552, 82 U.S.

 552, 21 L.Ed. 60 (1872).2 As identified by the court in Jazz Casual, Inc. v.

 Byron, 2012 WL 13059823, *3-4 (N.D. CA 2012), various courts have applied the

 certain circumstances differently, however, cases subsequent to Frow are clear that


 2
   The Ninth Circuit recognizes that Frow's reasoning is not limited to claims
 asserting joint liability, but may extend to defendants who are “similarly
 situated.” In re First T.D. & Inv ., Inc., 253 F.3d at 532 (agreeing with the Eleventh
 Circuit's interpretation of Frow in Gulf Coast Fans, Inc. v. Midwest Elecs. Imps.,
 Inc., 740 F.2d 1499, 1512 (11th Cir.1984)); see also Shanghai Automation
 Instrument Co. v. Kuei, 194 F.Supp.2d 995, 1008
 (N.D.Cal.2001) (“Frow's applicability turns not on labels such as ‘joint liability’ or
 ‘joint and several liability,’ but rather on the key question of whether under the
 theory of the complaint, liability of all the defendants must be uniform.”)

                                             4
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 9 of 14                PageID #:
                                  9005



 the key point “is to recognize that the Frow principle is designed to apply only

 when it is necessary that the relief against the defendants be consistent.” See

 Wright et al., § 2690. For the following reasons Frow does not apply: this is a

 consent judgment not a default judgment; the Secretary’s allegations against the

 Saakvitne Defendants and the other Defendants are not joint claims; and the

 Saakvitne Defendants have a limited amount of financial resources to satisfy the

 losses.

       Here, the Secretary is seeking a consent judgment not a default judgment.

 Therefore, both parties entering into this judgment are represented by counsel

 and have agreed to the terms. Further, the claims against the Saakvitne

 Defendants are not joint claims relating to any remaining defendant. The

 Saakvitne Defendants liability is premised on those parties’ actions not the other

 parties’ actions, therefore, resolving the Saakvitne Defendants’ breaches have no

 bearing on any other defendant in this matter. Further, ERISA provides for joint

 and several liability. see ERISA Section 405(a), 29 U.S.C. Section 1105(a); Call

 v. Sumitomo Bank, 881 F.2d 626, 631 (9th Cir. 1989); Free v. Briody, 732 F.2d

 1331, 1332, 1336 (7th Cir. 1984).     Moreover, the limited amount of funding

 available from the Saakvitne Defendants justifies entry of this final judgment to

 ensure that the ESOP moves closer to being restored to the position it would

 have been in but for the fiduciary breach. See ERISA Section 409, 29 U.S.C. §



                                           5
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 10 of 14              PageID #:
                                   9006



  1109 (breaching fiduciary “personally liable to make good to such plan any

  losses to the plan resulting from each such breach.”). Also of consequence is

  the longer the ESOP losses remain unavailable to the plan participants the

  greater harm to those participants who rely on those monies as retirement

  savings. Because the Consent Judgment addresses all claims against these

  particular defendants, this is a proper final judgment under Fed.R.Civ.P. 54(b).

  See Continental Airlines, Inc. v. Goodyear Tire & Rubber Co., 819 F.2d 1519,

  1524 (9th Cir. 1987) (“Rule 54 requires a certifiable judgment finally to resolve at

  least one claim in a multiple-claim action or finally to adjudicate the position of at

  least one party to a multiple-party action.”)

        The Supreme Court held there are no set guidelines on what constitutes

  “just reason for delay,” under Fed. R. Civ. P. 54(b) holding “because the number

  of possible situations is large, we are reluctant either to fix or sanction narrow

  guidelines for the district courts to follow.” Curtiss-Wright Corp. v. Gen. Elec.

  Co., 446 U.S. 1, 10–11, 100 S. Ct. 1460, 1466, 64 L. Ed. 2d 1 (1980); see

  generally Wright and Miller, Fed. Prac. & Proc. Civ. § 2659 (4th ed.). An

  example of a reasoning to support a finding that there is “no just reason for

  delay,” includes recognizing “the danger that delay in issuing final judgment

  might prejudice [plaintiff’s] ability to collect on its judgment because of

  [defendant’s] precarious financial position.” Bank of Lincolnwood v. Fed.



                                             6
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 11 of 14              PageID #:
                                   9007



  Leasing, Inc., 622 F.2d 944, 949 (7th Cir. 1980).

        The Saakvitne Defendants have provided the Secretary financial declarations

  under oath setting forth their limited financial means. Further, in reliance on the

  information provided by the Saakvitine Defendants, the Secretary determined that

  with respect to the Saakvitne Defendants, given the only source for loss restoration

  was its wasting insurance policy, it was in the best interest of the ESOP

  participants to resolve the matter to maximize the loss restoration to the Plan.

  Entering a final judgment in this matter would enable the restoration of losses to

  the ESOP. This in turn would allow the ESOP to allocate the monies to the

  harmed ESOP participants’ retirement accounts. Denying the Consent Order and

  Judgment will only result in diminishing the amount to be restored to the harmed

  ESOP participants. Therefore, the Secretary contends there is no just reason for

  delay because the Saakvitne Defendants are no longer contesting this case, their

  ability to restore losses is limited, and removing them from the litigation will

  narrow the issues for trial.


        B.     This Court has the authority to extend the expert deposition
               deadline.

        “At any time the court may, for good cause, deny, restrict, or defer discovery

  or inspection, or grant other appropriate relief.” Fed. R. Civ. P. 16(d). “The district

  court is given broad discretion in supervising the pretrial phase of litigation.”



                                             7
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 12 of 14                PageID #:
                                   9008



  Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 607 (9th Cir. 1992).

        Here, where good cause is overwhelmingly abundant, an extension to

  complete the two expert depositions, if necessary is efficient and well within this

  Court’s authority.

        C.     Extending discovery deadlines is necessary to prevent the
               unnecessary expenditures of time and money by the court and the
               parties.

        “The pretrial schedule may be modified ‘if it cannot reasonably be met

  despite the diligence of the party seeking the extension.’” Zivkovic v. S. Cal.

  Edison Co., 302 F.3d 1080, 1087 (9th Cir. 2002) (quoting Johnson, 975 F.2d at

  609). “The most relevant factor in determining whether good cause exists is

  whether the party requesting an extension of time can show that the existing

  deadlines could not be met despite the party’s diligence.” Bovarie v.

  Schwarzenegger, 2011 WL 767249, *1 (S.D. Cal., Feb. 25, 2011).

        The Ninth Circuit listed other factors that it deems relevant to the question of

  whether a pre-trial order should be modified: “1) whether trial is imminent, 2)

  whether the request is opposed, 3) whether the non-moving party would be

  prejudiced, 4) whether the moving party was diligent in obtaining discovery within

  the guidelines established by the court, 5) the foreseeability of the need for

  additional discovery in light of the time allowed for discovery by the district court,

  and 6) the likelihood that the discovery will lead to relevant evidence.” U.S. ex rel.



                                             8
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 13 of 14               PageID #:
                                   9009



  Schumer v. Hughes Aircraft Co., 63 F.3d 1512, 1526 (9th Cir. 1995), judgment

  vacated on other grounds, 520 U.S. 939, 117 S. Ct. 1871, 138 L. Ed. 2d 135

  (1997).

        The current deadline to complete expert discovery is February 19, 2021.

  [Dkt. 347.] The scheduled trial date is still months away. This Motion is agreed to

  by the Saakvitne Defendants and opposed by Defendant Bowers, Defendant

  Kubota, and Defendant Bowers + Kubota Consulting, Inc. The non-moving parties

  would not be prejudiced because the Consent Order and Judgment only relates to

  the Secretary and the Saakvitne Defendants and is consistent with the law, the non-

  moving parties never disclosed the Saakvitne Defendants’ experts as their experts,

  and if the Consent Order and Judgment is entered all parties save the expense

  incurred by participating in these additional two expert depositions. If the Consent

  Judgment is not entered then the non-moving parties still have the opportunity to

  participate in the expert depositions if the Secretary decides on taking them.

  Furthermore, the Parties have been diligent in obtaining discovery within the

  guidelines established by this Court. All fact depositions have been completed and

  all expert depositions, excluding Mr. Kaplan and Ms. McMahon, were completed

  on February 16. It is unlikely that additional discovery will be needed following

  these two depositions. As the Saakvitne Defendants are likely to call these two

  witnesses to testify at trial, the depositions should result in the compilation of



                                             9
Case 1:18-cv-00155-SOM-WRP Document 398 Filed 02/19/21 Page 14 of 14          PageID #:
                                   9010



  relevant evidence.

         The Secretary proposes that if the Consent Order and Judgment between the

  Secretary and Saakvitne Defendants is not entered, the Secretary be granted 21

  days from the date the court declines to enter the Consent Order and Judgment to

  complete any depositions of Mr. Kaplan and Ms. McMahon he decides to take.

  III.   CONCLUSION

         WHEREFORE, the Secretary respectfully requests this Court grant his

  motion to enter the Consent Order and Judgment between the Secretary and

  Saakvitne Defendants as a final judgment, Extend Deadlines for the taking of any

  depositions of Mr. Kaplan and Ms. McMahon that the Secretary decides to take,

  and for such other relief as the Court deems proper.

  Dated: February 19, 2021                      Respectfully submitted,

                                                ELENA S. GOLDSTEIN
                                                Deputy Solicitor

                                                CHRISTINE Z. HERI
                                                Regional Solicitor



                                                /s/ Ruben R. Chapa
                                                RUBEN R. CHAPA
                                                ERISA Counsel

                                                Attorneys for MILTON AL
                                                STEWART, Acting Secretary of
                                                Labor, United States Department of
                                                Labor, Plaintiff

                                           10
